                         Case
       'AO 247 (02/08) Order     4:05-cr-00003-JRH-CLR
                             Regarding Motion for Sentence Reduction   Document 124 Filed 02/04/09 Page 1 of 1

                                              UNITED STATES DISTRICT COURT
                                                                          for the
                                                               Southern District of Georgia
                                                                  Savannah Division
                          United States of America                         )
                                         V.                                 )
                                                                            ) Case No: CR405-00003-002
                               Niyonu Spaulding
                                                                            ) USM No: 12179-021
        Date of Previous Judgment:         January 12, 2006                 ) Robert Rosenblum
        (Use Date of Last Amended Judgment if Applicable)                   ) Defendant's Attorney

                           Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

Upon motion of                   the defendant      the Director of the Bureau of Prisons  the court under 18 U.S.C.
   § 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
   subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
   § 994(u), and having considered such motion,
        IT IS ORDERED that the motion is:
                 DENIED. RX GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                            the last judgment issued) of 188   months is reduced to         176 months
        I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
        Previous Offense Level:    34                                          Amended Offense Level:      32
        Criminal History Category: IV                                          Criminal History Category: IV
        Previous Guideline Range: 210                  to 262 months           Amended Guideline Range: 168 to 210 months

       II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
          The reduced sentence is within the amended guideline range.
       R The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
          of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
          amended guideline range.
          Other (explain)   The reduced sentence is within the amended guideline range; however, the Court will not depart
                            below the amended guideline range based on the 5K1 .1 motion filed before the original sentencing.
                            The Court has considered all the sentencing factors set forth in 18 U.S.C. § 3553(a) and has
                            determined 176 months is the appropriate sentence as the defendant poses a threat to the
                            community.
        III. ADDITIONAL COMMENTS

        If this sentence is less than the amount of time the defendant has already served, the sentence is reduced to a
        'Time Served' sentence.
        Except as provided above, all provisions of the judgment dated              January 12. 2006          shall remain in effect.
        IT IS SO ORDERED.
                                                  C)
        Order Date:          2 4
                                                                                                              s signature


                                                                               B. Avant Ed
                                                                               United States District Judge
        Effective Date:                                                        For the Southern District of Georgia
                            (if different from order date)                                           Printed name and title
